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             United States Court of Appeals
                           For the First Circuit


 No. 22-1339

                               NUVASIVE, INC.,

                            Plaintiff, Appellee,

                                       v.

                                 TIMOTHY DAY,

                           Defendant, Appellant.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

              [Hon. Denise J. Casper, U.S. District Judge]


                                    Before

                           Barron, Chief Judge,
                    Lipez and Howard, Circuit Judges.


      Bryan E. Busch, with whom Stephen D. Weatherhead was on brief,
 for appellant.

      Mary Taylor Gallagher, with whom Holly M. Polglase, Michael
 S. Batson, Hermes, Netburn, O'Connor & Spearing, P.C., Christopher
 W. Cardwell, M. Thomas McFarland, and Gullett, Sanford, Robinson
 & Martin, PLLC were on brief, for appellee.


                                August 9, 2023
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             LIPEZ, Circuit Judge.           In this appeal, Timothy Day

 challenges district court orders requiring him to pay his former

 employer more than $1.7 million in damages and attorney's fees for

 his   contractual    breaches    and    spoliation   of   evidence.     These

 assessments arose from Day's business interactions with customers

 of his former employer, appellee NuVasive, Inc., on behalf of his

 new employer, Alphatec Spine, Inc., in violation of noncompetition

 and nonsolicitation obligations in Day's contract with NuVasive.

 The details of those violations are fully reported in the district

 court's multiple decisions.         See NuVasive, Inc. v. Day, No. 19-

 cv-10800, 2022 WL 899244 (D. Mass. Mar. 28, 2022); NuVasive, Inc.

 v. Day, No. 19-cv-10800, 2021 WL 1087982 (D. Mass. Feb. 18, 2021);

 NuVasive, Inc. v. Day, No. 19-cv-10800, 2019 WL 2287709 (D. Mass.

 May 29, 2019); see also NuVasive, Inc. v. Day, 954 F.3d 439 (1st

 Cir. 2020) (resolving a choice-of-law issue).               We thus assume

 familiarity with the background facts and limit our discussion to

 the damages and fees issues.           After careful review of the record

 and applicable law, we affirm the district court's rulings.

                            I. The Damages Award

             Under Delaware law, which applies in this diversity

 action, a plaintiff seeking to recover damages for breach of

 contract must prove "with reasonable certainty" that the damages

 claimed were caused by the defendant's breach.            SIGA Techs., Inc.

 v. PharmAthene, Inc., 132 A.3d 1108, 1111 (Del. 2015); see also


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 Tanner v. Exxon Corp., No. 79C-JA-5, 1981 WL 191389, at *1 (Del.

 Super. Ct. July 23, 1981) ("It is axiomatic that a plaintiff

 . . . must demonstrate with reasonable certainty that defendant's

 breach caused the loss." (emphasis omitted)); Chemipal Ltd. v.

 Slim-Fast Nutritional Foods Int'l, Inc., 350 F. Supp. 2d 582, 596-

 97   (D.   Del.    2004)   (quoting    Tanner,    1981   WL    191389,   at   *1).

 Although    that     standard    requires     a    connection      between    the

 plaintiff's harm and the defendant's breach, the evidence merely

 needs to be sufficient to take "the fact of damages . . . out of

 the area of speculation."       Tanner, 1981 WL 191389, at *1; see also

 SIGA Techs., 132 A.3d at 1111.            We review the district court's

 factfinding on causation for clear error.            See Moore v. Elec. Boat

 Corp., 25 F.4th 30, 34 (1st Cir. 2022); VICI Racing, LLC v. T-

 Mobile USA, Inc., 763 F.3d 273, 293 (3d Cir. 2014).

             Day asserts that the district court erred in finding the

 requisite causal nexus between his improper solicitations and the

 decisions of Drs. Paul Glazer, Brian Kwon, and John Shin to switch

 from NuVasive to Alphatec as their primary supplier of spine-

 related surgical products.            Day argues that NuVasive failed to

 establish    the    required    connection       between      specific   improper

 conduct on his part and specific damages to the company.                 Instead,

 he claims, the district court assumed a connection between his

 actions and NuVasive's reduced business from the three surgeons

 that the record does not support.


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                 In asserting the inadequacy of the district court's

 factfinding,          Day   disregards      the     substantial       circumstantial

 evidence in the record.             See, e.g., Elenza, Inc. v. Alcon Lab'ys

 Holding Corp., 183 A.3d 717, 725-26 (Del. 2018) (recognizing that

 facts     may    be    proven   with     circumstantial       evidence);      see   also

 Mirabella v. Town of Lexington, 64 F.4th 55, 59 (1st Cir. 2023)

 (Lipez, J., dissenting) ("[D]irect evidence is no more valuable

 than circumstantial evidence.").             Contrary to Day's suggestion, in

 finding a causal connection between Day's breaches and the harm to

 NuVasive, the district court did not rely solely on the dramatic

 surge     in    Glazer,     Kwon,   and    Shin's    use     of    Alphatec   products

 following Day's move to that company.                      Rather, in its summary

 judgment        and   damages   opinions,     the     court       found   particularly

 telling the multiple instances in which Day improperly interacted

 with Beth Israel Deaconess Medical Center ("BIDMC") -- and, most

 significantly, with Glazer -- in the months immediately after Day's

 departure       from    NuVasive    in    April     2019.1        Those   interactions


       1Before Day moved to Alphatec, Glazer was the largest user
 of NuVasive products at BIDMC, which in turn was the largest
 NuVasive account in the Boston market. See NuVasive, 2022 WL
 899244, at *4. The district court described the change in Glazer's
 usage as follows:

                      In 2018, Dr. Glazer used $5.4 million in
                 NuVasive hardware and biologics at BIDMC; in
                 2019, that figure was $2,559,137; in 2020,
                 that total was approximately $95,000; in 2021
                 (as of . . . October 2021), that number was
                 zero.


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 included: (1) Day's assistance in negotiating the pricing of

 Alphatec products for use at BIDMC, see NuVasive, 2022 WL 899244,

 at *62; NuVasive, 2021 WL 1087982, at *3, *8; (2) Day's involvement

 in obtaining approval for use of Alphatec's "ALIF" system for

 spinal fusion surgeries at BIDMC, NuVasive, 2021 WL 1087982, at

 *3; (3) Day's organizing the itinerary when Alphatec's CEO traveled

 to Boston to meet with surgeons including Glazer, see NuVasive,

 2022 WL 899244, at *5, and (4) Day's presence "in the operating

 room with Dr. Glazer when he used an Alphatec ALIF system for the

 first time in May 2019," id. at *6.

             Indeed, Day's interactions in April and May 2019 with

 surgeons who had been on his sales roster at NuVasive prompted the

 district court to issue an injunction, on May 29, 2019, requiring

 Day to comply with the nonsolicitation clause in the NuVasive

 Proprietary Information, Inventions Assignment, Arbitration, and

 Restrictive Covenants Agreement ("PIIA").           See NuVasive, 2019 WL

 2287709, at *8.       In January 2020, the court specified that the

 injunction would remain in effect through March 3, 2020, noting in

 its ruling that the "incidents of solicitation in violation of the

 PIIA in April and May 2019 were not isolated incidents."               In its




 Id. (footnote omitted).
       2Day admitted helping to negotiate the pricing "with some
 emails and such."


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 summary judgment decision the following year, the district court

 cited evidence that Day had served as Alphatec's "primary contact

 for    BIDMC"    through    June    9,    2019,   in   violation     of   his

 nonsolicitation agreement, and also had taken actions in violation

 of his noncompetition agreement.            NuVasive, 2021 WL 1087982, at

 *8.

             Day highlights Glazer's testimony that Day had nothing

 to do with his decision to switch from nearly exclusive use of

 NuVasive products to primary use of Alphatec products and also

 points to evidence that Glazer's move to Alphatec had been in the

 works before Day's own move to the company.             The district court

 considered this evidence, however, see NuVasive, 2022 WL 899244,

 at *5, *11, and it was free to reject Glazer's disclaimer of Day's

 influence     given   the    undisputed     evidence    that   Day    engaged

 repeatedly with Glazer on behalf of Alphatec during the period in

 which Day's agreement with NuVasive prohibited him from doing so.3


       3We note as well that NuVasive's damages expert, Misty
 Decker, was questioned in a deposition in July 2020 about Dr.
 Glazer's statement in his declaration that Day had not "solicited,
 encouraged, or participated in any solicitation of [him] to use
 Alpha[t]ec products." When asked if she had "any reason to believe
 . . . that Dr. Glazer was not telling the truth when he signed
 this declaration," she responded: "I have to look at the totality
 of the evidence, not just one piece of oral testimony, and I've
 given you all the reasons that would not tie directly to Dr.
 Glazer's declaration." Earlier in her deposition, Decker stated,
 "I do understand Dr. Glazer has made this statement, but I do
 understand there is documentary evidence of things that would
 contradict this statement." The district court credited the expert
 opinion offered by NuVasive. See NuVasive, 2022 WL 899244, at *11


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             Moreover,       even   though      Glazer    may    have    shown    some

 interest in Alphatec before Day joined the company, the record

 indicates that, until Day became involved, Glazer did not have the

 necessary    custom   surgical       instruments    to    make    the    switch    to

 Alphatec's      products.      See    NuVasive,    2022    WL    899244,    at    *6;

 NuVasive, 2021 WL 1087982, at *4.              The district court also heard

 testimony on the influential role sales representatives play in

 retaining the business of surgeon users of medical products.

 Specifically,      John     English,    who      performed      both    legal     and

 distributor roles at NuVasive, testified that companies require

 noncompete agreements because "when a sales rep leaves, the company

 has a chance of keeping the business as long as that sales rep is

 not still in the room helping the surgeon."4

             Finally, when viewed alongside the evidence described

 above,    the    magnitude    of     Glazer's    near-simultaneous         move    to

 Alphatec after Day's transition provides additional circumstantial




 ("Here, NuVasive has shown, by a reasonable degree of certainty
 through witness testimony, exhibits and expert opinion that the
 Court credits, that it suffered lost profits as to Dr. Glazer, Dr.
 Shin and Dr. Kwon as a result of Day's violation of the NuVasive
 PIIA during the Injunction Period." (emphasis added)).

       4English answered affirmatively when asked if the sales
 representative plays the "great[est] role in convincing a surgeon
 to utilize NuVasive's products." English also testified that he
 verified while conversing with Glazer that -- as Day previously
 had assured him -- "Dr. Glazer was going to use whatever product
 that Mr. Day recommended for him."



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 evidence of a cause-and-effect relationship.          See, e.g., NuVasive,

 2022 WL 899244, at *5 (finding that, as of summer 2018, "BIDMC was

 only giving Alphatec 'a very, very small platform to be able [to]

 have some trial cases'" of an Alphatec system (alteration in

 original) (quoting Alphatec's then-senior sales director for the

 Northeast)); id. (finding that, as of the first quarter of 2019,

 "Dr. Glazer was still only using a minimal amount of Alphatec

 products"); id. at *4 (finding that "Dr. Glazer's use of NuVasive

 products changed in April 2019, the same time that Day left the

 company for Alphatec" (citations omitted)).5          We thus see no clear

 error in the district court's finding that the shift of the bulk

 of Glazer's business from NuVasive to Alphatec between April 2019




       5In its Findings of Fact in its damages opinion, the district
 court reported that "Dr. Glazer's revenue generated with Alphatec
 jumped from $34,265 in Q1 2019 to $242,852[] in Q2 2019 and
 increased to over $400,000 in and after Q4 2019." NuVasive, 2022
 WL 899244, at *6.       The court stated the following in its
 Conclusions of Law:

             [A]lthough [Dr. Glazer] had some limited
             business with Alphatec before Day arrived
             there from NuVasive on April 1, 2019, Day's
             own 2019 Sales Projections for NuVasive before
             his departure, the subsequent decrease in
             NuVasive sales by more than fifty percent,
             ten-fold increase of Alphatec sales for Dr.
             Glazer from Q1 to Q4 2019, all in the wake and
             midst of Day's breach of the NuVasive PIIA,
             show that NuVasive suffered lost profits from
             Dr. Glazer's business as a result of Day's
             breach.

 Id. at *11.


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 and March 2020 -- the operative timeframe for Day's nonsolicitation

 obligation under the PIIA -- was not a coincidence and that Day

 was indeed the catalyst.

             The evidence relating to Kwon and Shin was less abundant

 than that for Glazer, but it was nonetheless adequate to support

 the district court's finding that Day was responsible for their

 switch to Alphatec products.           Before Day's move to Alphatec,

 neither Kwon nor Shin was doing any business with that company.

 See id. at *11. Both started using some Alphatec products in early

 2020, see id., and the record contains references to a "Q1 2020"

 Alphatec document -- i.e., a first-quarter report -- stating that,

 in addition to Glazer, Day considered Kwon and Shin among his

 successes.      See, e.g., id. at *6 (citing testimony of NuVasive's

 damages expert).

             More specifically, Day acknowledged that his email to

 Kwon in May 2019 asking Kwon to meet with Alphatec's CEO was "[t]o

 some extent" a solicitation, and Day specifically asked in that

 communication if he could show Kwon an Alphatec "screw system."

 Day also joined Alphatec CEO Pat Miles for a breakfast meeting

 with Kwon in May 2019.      As for Shin, NuVasive introduced testimony

 that the surgeon's projected sales for 2021 would have been higher

 if   he   had   continued    using   NuVasive's     products,    as   he   had

 historically done, rather than switching to Alphatec.             Alphatec's

 senior sales director for the Northeast, Chad Spear, likewise


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  testified that the Q1 2020 summary referenced above included an

  observation that Shin had been "super engaged" with Day.

              In short, the district court identified a pattern of

  improper activity seemingly aimed at switching the affiliation of

  multiple    surgeons     from    NuVasive   to     Alphatec    --   including   a

  particularly       valuable     customer,   Glazer     --     and   reached   the

  reasonable conclusion that the campaign worked.                     Moreover, as

  explained infra, NuVasive's damages claim was boosted by an adverse

  inference imposed on Day because he had spoliated evidence --

  namely, an inference that text messages he failed to preserve were

  "unfavorable to him" with respect to "what damages NuVasive was

  able to prove."      Id. at *3, *12-13.6

              Nor do we find any clear error in the amount of damages

  awarded.    The court held a three-day hearing devoted in large part

  to   the   issue    of   damages,   with    both    parties    offering   expert

  testimony and written reports.         In calculating "low end" and "high


        6In an apparent effort to discount the strength of the
  circumstantial evidence on damages, Day contrasts the record here
  with the facts of Tanner v. Exxon Corp., where the plaintiff's
  former customers specifically testified that they stopped
  patronizing the plaintiff's service station because of the
  station's deteriorating condition resulting from the defendant's
  contractual breach.   See 1981 WL 191389, at *2.     As explained
  above, however, the plaintiff's burden of proof for breach-of-
  contract damages is "[r]easonable certainty," a showing that "is
  not equivalent to absolute certainty."    Id. at *1.   The record
  here contained an abundance of circumstantial evidence from which
  the district court supportably inferred the causal link between
  Day's breaches and NuVasive's harm.



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  end" damages amounts for the conversion of Glazer's sales to

  Alphatec,    NuVasive's       expert     relied,   in    part,    on   2019   sales

  projections that Day himself had prepared while still working for

  NuVasive -- finetuning the figures to Day's advantage in various

  ways.     NuVasive, 2022 WL 899244, at *7.              For hardware sales, for

  example, the expert subtracted NuVasive's "'mitigating sales,'

  i.e., the sales that it actually made[;] the costs of goods sold

  (that were avoided)[;] and distributor commissions that would have

  been made."      Id.   For biologics, which are "bought in bulk for the

  hospital    as    a    whole,"    the     expert     made   a    "conservative[]"

  calculation covering a limited period because of the possibility,

  inter alia, that BIDMC would have had "inventory on hand from prior

  years."    Id. at *8.     The district court conservatively adopted the

  low-end     estimate    for      Glazer's    sales      (including     prejudgment

  interest) calculated by NuVasive's expert ($1,552,581), see id. at

  *9, *11, and it limited the damages to the period covered by its

  preliminary      injunction      order,     id.    at    *11.7     The   expert's

  calculations, adopted by the district court, were significantly

  lower for the damages related to Kwon and Shin's lost sales:

  $20,060 for Kwon and $29,482 for Shin.               See id. at *9.



        7NuVasive had sought lost profits for periods after the end
  of the injunction period, but the district court "decline[d] to
  award any additional damages given the impact of the pandemic after
  that time on sales projections, the decrease in surgical needs and
  impact on sales revenues." NuVasive, 2022 WL 899244, at *11.


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              Day attempts to discredit the testimony of NuVasive's

  expert by asserting that she "assumed liability and proximate cause

  in her report." It was the court, however, that made the liability

  determination based on the evidence of Day's improper actions and

  the three doctors' subsequent transitions to Alphatec.            See id. at

  *10-11; NuVasive, 2021 WL 1087982, at *8-9.           As described above,

  the court supportably found that Day's violations of the PIIA

  caused harm to NuVasive.        The expert then converted the court's

  cause-and-effect finding into specific damages amounts based on

  her examination of multiple factors, including historical sales

  data, actual sales in the relevant period, and, as noted above,

  Day's own projection of sales to Glazer anticipated for 2019.             See

  2022 WL 899244, at *6-9.8       The district court permissibly relied

  on that analysis in determining the damages award.9


        8Moreover, the expert, Decker, explained that she drew her
  understanding of causation from multiple factors, including the
  details of Day's violations of the PIIA and Day's own claims of
  success with the three doctors -- in addition to "the drop in
  NuVasive's sales to these surgeons in Q2 2019 [and] the uptick in
  Alphatec's sales in the same period." NuVasive, 2022 WL 899244,
  at *6. Decker also stated that she had reviewed the entirety of
  eleven depositions taken in the case, "as well as the entire
  exhibit packages for those depositions."

        9In so concluding, we briefly note Day's inapt emphasis on
  an unpublished decision of the Superior Court of Delaware in which
  the court found that the plaintiff had not established "a causal
  connection between [a former employee's] alleged actions and [the
  company]'s purported loss in sales." OmniMax Int'l, Inc. v. Dowd,
  No. N16C-04-168, 2019 WL 3545848, at *3 (Del. Sup. Ct. Jul. 17,
  2019). The circumstances in OmniMax differ markedly from those
  here. There, the court found that the plaintiff company had failed


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                       II. Attorney's Fees and Costs

              NuVasive successfully sought sanctions against Day based

  on spoliation of evidence -- specifically, as noted above, Day's

  failure   to   preserve    certain    text   messages    relevant    to   his

  interactions with NuVasive customers after he left the company.

  Adopting the report and recommendation of the magistrate judge,

  the district court concluded that NuVasive was entitled to the

  adverse inference that the lost evidence was unfavorable to Day,

  plus reasonable attorney's fees and costs to compensate the company

  for expenses incurred as a result of the spoliation.              The court

  determined that NuVasive was entitled to fees covering a roughly

  two-year period that began with the company's discovery in August

  2019 that evidence had been spoliated.         The court awarded NuVasive

  $127,214.50 in attorney's fees and $2,103.85 in costs related to



  to prove that its former employee breached the provision of their
  agreement barring customer solicitation, see id. at *3-4, and the
  company also offered "no expert who could perhaps correlate its
  losses to the conduct of" its former employee, id. at *4. Neither
  shortcoming identified in OmniMax applies here.

       We note, in addition, that the Delaware Supreme Court has
  endorsed "the wrongdoer rule" for assessing expectation damages
  resulting from a breach of contract, holding that "[t]he breaching
  party cannot avoid responsibility for making the other party whole
  simply by arguing that expectation damages based on lost profits
  are speculative because they come from an uncertain world created
  by the wrongdoer." SIGA Techs., 132 A.3d at 1111; see also id. at
  1131 n.132. Accordingly, when a party has breached a contract,
  "the fact" of expectation damages must be proven "with reasonable
  certainty," but "[t]he amount of damages can be an estimate." Id.
  at 1111.



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  the spoliation, including recompense for the company's efforts to

  recover the lost messages from other sources.

                   On appeal, Day argues that the district court improperly

  awarded attorney's fees for work "unrelated and unnecessary to

  NuVasive's motion for sanctions."                    He further asserts that the

  court failed to "fully engag[e] in the nuanced evaluation required

  under      the     lodestar    method"       used    in    the     First   Circuit     for

  calculating a reasonable attorney's fee.                   Day objects particularly

  to the court's inclusion of fees for work that pre-dated NuVasive's

  filing of its motions for sanctions,10 which he characterizes as

  "general discovery expenses."

                   We review a district court's award of attorney's fees

  for      abuse       of     discretion,         see,       e.g.,     Díaz-Rivera        v.

  Rivera-Rodríguez, 377 F.3d 119, 124 (1st Cir. 2004), and we find

  none here. The court explained in its fees order that, immediately

  after learning of the spoliation in August 2019, NuVasive "took

  steps to recover [the missing text messages] from other sources

  (e.g.,     his     phone    service    providers,         Alphatec),"      resulting    in

  "attorneys' fees and costs that predate[d] the formal filing of

  the   spoliation          motions"    but    were    nonetheless      related   to     the

  spoliation and covered by the court's order adopting the magistrate




        10The district court denied NuVasive's initial motion for
  sanctions but granted its renewed motion.



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  judge's recommendation.          The district court thus concluded that

  the appropriate timeframe for the fee award began with NuVasive's

  discovery that evidence had been spoliated and extended through

  NuVasive's filing of the fee petition now at issue.                   The court

  further explained that it had reviewed the attorneys' billing

  records and stated that, "[g]iven the contested nature of the

  spoliation     motions    and    litigation       regarding   same,   the   Court

  concludes that 217.7 hours for same was reasonable and the time

  spent attempting to retrieve evidence (258.9 hours) and much less

  time (33.4 hours through November 30, 2021) spent on the fee

  petition also was reasonable."

                We reject out-of-hand Day's assertion that the court

  should have awarded only fees "directly related to [NuVasive's]

  motion for spoliation of evidence."               The court's chosen scope for

  the fee award, covering NuVasive's costs in attempting to find the

  spoliated text messages or locate other evidence to compensate for

  their loss was eminently reasonable and certainly not an abuse of

  discretion.      Those efforts by NuVasive were a predictable result

  of the spoliation.       As to the amount of fees for that time period,

  Day makes only broad-brush arguments in attempting to show that

  the award was improper. Although he asserts that NuVasive included

  more   than    $53,000   in     fees   by   its   lead   counsel   "for   general

  discovery that is entirely unrelated to NuVasive's Motions for

  Sanctions," he does not identify the entries in NuVasive's listed


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  hours that he claims would be improper even if we accepted -- as

  we have -- the district court's determination that the relevant

  period began in August 2019 and includes discovery made necessary

  by Day's spoliation of evidence.11

              In his briefing, Day relies heavily on yet another

  unpublished decision to challenge the fees amount, highlighting

  the decision of a federal district court in Massachusetts to award

  fees related to a spoliation motion in an amount substantially

  less than had been requested.           See Hefter Impact Techs., LLC v.

  Sport Maska, Inc., No. 15-13290, 2017 WL 5798642, at *3-4 (D. Mass.

  Nov. 28, 2017).     Hefter, however, is readily distinguishable from

  this case in at least two important respects.               First, the Hefter

  court "ultimately found that the [defendant's] conduct was not

  sanctionable."     Id. at *3.    It nonetheless decided to award "fees

  and costs associated with the extra work plaintiff did to bring

  the   sanctions    motion     itself"     because   the     motion,   although

  unsuccessful,     "was   a   reasonable    response"   to    the   defendant's




        11Day does not even provide examples of such expenditures.
  Rather, he supports his contention that "[t]he attorneys' fees
  awarded were unreasonable and excessive" by citing to the full
  list of hours submitted by NuVasive's primary and local law firms,
  with a parenthetical explaining that these lists "reflect[]
  entries for written discovery to Day; subpoenas to Day's new
  employer, subpoenas to hospitals, doctors, and credentialing
  companies necessary to establish any alleged breaches of the
  restrictive covenants, etc." However, any of those tasks could
  have been part of NuVasive's efforts to obtain the lost evidence
  or find alternative proof of Day's breach of the PIIA.


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  conduct.    Id. (emphases omitted).         Here, by contrast, the district

  court found that sanctions were warranted, and the magistrate judge

  recommended an award to cover NuVasive's costs both in prosecuting

  the   sanctions    motions   and     "attempt[ing]    to   recover    the   lost

  evidence."     Second, the fee analysis in Hefter was performed by

  the trial judge.     As the reviewing court, we play a different role,

  "customarily      defer[ring]   to    the    trial   judge,   whose   intimate

  knowledge of the nuances of the underlying case uniquely positions

  him to construct a condign award."            Díaz-Rivera, 377 F.3d at 124

  (quoting Gay Officers Action League v. Puerto Rico, 247 F.3d 288,

  292 (1st Cir. 2001)); see also Pérez-Sosa v. Garland, 22 F.4th

  312, 320 (1st Cir. 2022) ("The Supreme Court has cautioned against

  'appellate micromanagement' of fee awards." (quoting Fox v. Vice,

  563 U.S. 826, 838 (2011))).

               The district court must be guided, of course, by the

  lodestar method ordinarily used by our court to evaluate the

  reasonableness of attorney's fees. See, e.g., Pérez-Sosa, 22 F.4th

  at 321.12    Here, the trial judge expressly recognized the lodestar


        12"The 'lodestar' . . . is calculated by multiplying the
  number of hours reasonably expended on the litigation by a
  reasonable hourly rate."    Diaz v. Jiten Hotel Mgmt., Inc., 741
  F.3d 170, 172 n.1 (1st Cir. 2013). Day challenges only the number
  of hours used for the lodestar, not the hourly rates.      A court
  making a fee award also has the discretion to adjust the lodestar
  up or down based on various factors, see id. at 173 n.2, including
  "the amount involved and the results obtained," id. at 177 n.7
  (listing the adjustment factors enumerated in Hensley v.
  Eckerhart, 461 U.S. 424, 430 n.3 (1983)).


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  inquiry and adhered to its steps.           Although the court accepted

  all hours proposed by NuVasive, it stated that it had "reviewed

  the billing records produced" and found the time spent on both the

  spoliation-related work and the fee petition to be reasonable,

  noting the litigation over the "contested" spoliation motions.

  The court also "considered the factors for adjusting the lodestar

  . . . upward    or   downward,    but   [found]   no   basis   to   do   so."

  (Citation omitted.)       We thus detect no legal error in the court's

  fees analysis and, as noted above, no abuse of discretion in the

  amounts awarded.

              Accordingly, we affirm both the award of damages in favor

  of NuVasive and the sanctions-based award of attorney's fees and

  costs.

              So ordered.




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